      Case 1:23-cv-00479-JJM-PAS                Document 61-3      Filed 02/24/25       Page 1 of 1 PageID #:
                                                        881

Viviana Gonzalez Gomez

From:                     Joshua Mello <kskustomsrideons@gmail.com>
Sent:                     Monday, February 24, 2025 2:00 PM
To:                       RID_ECF_INTAKE
Subject:                  CASE NOS.: 1:2023-CV-00479 & 1:2023-CV-00480
Attachments:              PLAINTIFFS OBJECTION TO MOTION TO DISMISS.pdf; PLAINTIFF'S MOTION FOR PROTECTIVE
                          ORDER.pdf

Categories:               Being Worked on VGG



CAUTION - EXTERNAL:


Good Afternoon,

We received a Motion to Dismiss from the Defendants on 2/19/25. We have viewed the docket sheet several times since
and do not see the motion on the docket. We check it to make sure we respond in time when allowed. In good fatih and
to fulfill the obligation we are reaching out to the courts, and submitting our response to that motion sent to us in an
email on 2/20/25 and the judges order January 25, 2025. We are unsure how to proceed. Any questions concerns or
problems please reach out, perhaps we over looked something. Attached you will find the motions for Plaintiffs Motion
to Object to the Dismissal and the Protective Order for the Medical Records for case no. 00479 & 00480.

Thank You,
Rachel

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K's Kustom's Ride On's & Rentals
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